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12   Facsimile: (215) 875-4604
13   Attorneys for Individual and Representative Plaintiff Nathan Muchnick, Inc.
14                                  UNITED STATES DISTRICT COURT
15                             NORTHERN DISTRICT OF CALIFORNIA
16                                       (San Francisco Division)
17   NATHAN MUCHNICK, INC., on behalf of                Case No. CV-07-5981-SC
     itself and all others similarly situated,
18
                       Plaintiff,
19                                                      INTERNATIONAL LETTER OF
     v.                                                 REQUEST (LETTER ROGATORY)
20
     CHUNGHWA PICTURE TUBES, LTD., et al.,
21
                       Defendants.
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                                                                     INTERNATIONAL LETTER OF REQUEST
     744910.1                                                                     (LETTER ROGATORY)
                                                                                CASE NO. CV-07-5981-SC
 1              TO THE APPROPRIATE JUDICIAL AUTHORITY IN TAIWAN:
 2              The United States District Court for the Northern District of California presents its
 3
     compliments to the Appropriate Judicial Authority in Taiwan, and respectfully requests
 4
     international judicial assistance to effect service of process in connection with a civil proceeding
 5
     currently pending before this Court in the above-titled matter.
 6

 7   I.         ASSISTANCE REQUESTED

 8              This Court respectfully requests that the Taiwanese judicial authorities:

 9              1. Cause one copy of the Summons in a Civil Case, Class Action Complaint, Order

10                 Setting Initial Case Management Conference and ADR Deadline, Related Case Order,
11
                   Order Setting Case Management Conference, Contents of Joint Case Management
12
                   Statement and ECF Registration Information Handout annexed hereto to be served
13
                   upon Defendant Chunghwa Picture Tubes, Ltd. at this address in the manner
14
                   prescribed for the service of similar documents under the laws of Taiwan:
15

16                                      CHUNGHWA PICTURE TUBES, LTD.
                                              1127 Heping Road
17                                                Bade City
                                              Taoyuan, Taiwan
18
                   It has been represented to this Court that defendant Chunghwa Picture Tubes, Ltd. is a
19
                   company organized and existing under the laws of Taiwan;
20
                2. Cause the person who serves the documents upon a director, managing agent, officer,
21

22                 or other person authorized to accept service of Chunghwa Picture Tubes, Ltd. to

23                 execute an affidavit of service as provided by Taiwanese law; and

24              3. Return through diplomatic channels to plaintiff’s attorney the affidavit of service and a
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                   copy of the documents that were served.
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                                                                           INTERNATIONAL LETTER OF REQUEST
     744910.1                                           -1-                             (LETTER ROGATORY)
                                                                                      CASE NO. CV-07-5981-SC
 1   II.        NATURE AND PURPOSE OF THE PROCEEDINGS
 2              Plaintiff brings this class action lawsuit on behalf of individuals and entities in the United
 3   States who purchased Cathode Ray Tubes ("CRTs") or products containing CRTs directly from
 4
     defendants between May 1,1998 through the present. Defendants are leading manufacturers
 5
     of CRTs and control the majority of the CRT industry. Plaintiff alleges that, after May 1, 1998,
 6
     defendants conspired, combined, and contracted to fix, raise, maintain, and stabilize the prices at
 7

 8   which CRTs and products containing CRTs were sold in the United States. Plaintiff alleges that

 9   beginning at least as early as May 1, 1998, defendants entered in a continuing contract,

10   combination, or conspiracy to restrain unreasonably trade and commerce in violation of Section 1
11
     of the Sherman Antitrust Act, 15 U.S.C. § 1. As a result, Plaintiff asserts it was forced to pay
12
     more for CRTs and products containing CRTs than it would have paid in a competitive CRT
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     market. For its injury, Plaintiff requests damages and an injunction enjoining defendants’
14
     allegedly anti-competitive activity under sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15
15

16   and 26.

17   III.       RECIPROCITY

18              The courts of the United States are authorized by statute, Section 1696, Title 28, United
19   States Code, to extend similar assistance to the Tribunals of Taiwan in like cases.
20
     IV.        REIMBURSEMENT FOR COSTS
21
                Counsel for Plaintiffs is willing to ensure reimbursement to the judicial authorities of
22
     Taiwan for costs incurred in executing this letter rogatory. If the cost of executing this Court’s
23
     letter rogatory exceeds $500.00, the judicial authorities of Taiwan are requested to contact the
24

25   following counsel for plaintiff:

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                                                                             INTERNATIONAL LETTER OF REQUEST
     744910.1                                            -2-                              (LETTER ROGATORY)
                                                                                        CASE NO. CV-07-5981-SC
 1                                             Eric B. Fastiff
                             LIEFF, CABRASER, HEIMANN & BERNSTEIN, LLP
 2                                      275 Battery Street, 30th Floor
                                       San Francisco, CA 94111-3339
 3                                       Telephone: (415) 956-1000
                                         Facsimile: (415) 956-1008
 4

 5              This Court extends to the judicial authorities of Taiwan the assurances of its highest
 6   consideration.
 7
                                                              Respectfully Requested,
 8
                    29 2008
     Dated: January ___,                                      ___________________________________
 9
                                                              Judge Samuel Conti
10                                                            United States District Court –
                                                              Northern District of California
11                                                            450 Golden Gate Avenue
                                                              San Francisco, California 94102
12                                                            United States of America
13                                                            +1.415.522.2000

14

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16   (SEAL OF UNITED STATES DISTRICT COURT – NORTHERN DISTRICT OF CALIFORNIA)
17

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19
     Attachments, in English and in Chinese, in duplicate:
20
        • Summons in a Civil Case
21      • Class Action Complaint
        • Order Setting Initial Case Management Conference and ADR Deadline
22      • Related Case Order
        • Order Setting Case Management Conference
23
        • Contents of Joint Case Management Statement
24      • ECF Registration Information

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                                                                            INTERNATIONAL LETTER OF REQUEST
     744910.1                                           -3-                              (LETTER ROGATORY)
                                                                                       CASE NO. CV-07-5981-SC
